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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                            (S4) 23-Cr-490 (SHS)

                 -v-

ROBERT MENENDEZ, NADINE MENENDEZ,                                    ORDER
WAEL HANA, and FRED DAIBES,

                                   Defendants.
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SIDNEY H. STEIN, U.S. District Judge.

             The Court will hold a pretrial conference on April 17, 2024, at 10:00 a.m. in
Courtroom 23A to discuss the proposed stipulation and the timing of the trial.


Dated: New York, New York
       April 16, 2024
